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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                          ALEXANDRIA DIVISION


 EDWARD URBANIAK,                        Case No:

                        Plaintiff,        NOTICE OF REMOVAL

 v.                                      (Removed from the Circuit Court of
                                         Loudoun County, CL No. 2019-00815)
 AJ KHUBANI
 and                                     State Action Filed: May 22, 2019
 TELEBRANDS CORP. d/b/a/ BULBHEAD,

                        Defendants.




                            NOTICE OF REMOVAL



                           EXHIBIT A
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